Case 2:05-mc-00026-.]DB-dkv Document 10 Filed 07/27/05 Page 1 of 3 Page|D 14

 

 

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in THE UNITED sTATEs DISTRICT cOURT
FOR THE wEsTERN DISTRICT OF TENNESSEE .
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CLEPK, Ll.S. ` ":I H.!CT COURT

STEPHANIE D. SANDRIDGE, as
Administratrix of the Estate
of GREGORY D. CROSS, DECEASED

Plaintiff,

FORD MOTOR COMPANY, a Delaware

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)
)
V. ) CASE NO. OE-MC‘~OZGBV
)
)
Corporation )

)

)

Defendant.

 

ORDER AND SUPPLEMENTAL REPORT AND RECOMMENDATION ON
DEFENDANT’S REQUEST FOR ATTORNEY FEES

 

Before the court are the affidavits of Alonzo Washington and
Chad D. Graddy along with Emily Landry and Randolph J. Bibb III,
acting as counsel for defendant, Ford Motor Company, in support of
an award of attorneys fees and expenses incurred in the course of
attempting to obtain the deposition of Barbara Lester. The
deposition of hester was requested with regards to a civil action
pending before the United States District Court for the Northern
District of West Virginia, styled, Stephanie D. Sandridge, as
Administratrix of the Estate of Gregory D. Cross, Deceased, v. Ford
Motor Company, No. 2:04CV18. In the order dated July ll, 2005 the
court granted Ford, attorney fees and expenses and instructed
counsel for Ford to submit affidavits specifying these costs.

The affidavits submitted are insufficient. Counsel for the

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defendant failed to detail the nature of legal services rendered by
each attorney, the amount of time spent and expense incurred for
each activity; the hourly rates charged by each attorney, and total
attorney fees. Counsel for Pord are directed to file supplemental
affidavits detailing fees and expenses within eleven days of
service of this order.

IT IS SO ORDERED this 26th day of July, 2005.

&/GL/c W~ ‘K @w//W

DIANE K VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-MC-00026 Was distributed by fax, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

.1 ohn Randolph Bibb

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Honorable .1. Breen
US DISTRICT COURT

